     Case 2:20-cv-04812-MRW Document 30 Filed 11/22/21 Page 1 of 2 Page ID #:160




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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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11   FREDY ALVAREZ, by and through       )   CASE NO. CV 20-04812 MRW
                                         )
     his Guardian Ad Litem, LOIDA        )   Hon Judge Michael R. Wilner
12   BRAVO,                              )   Roybal “550”
                                         )
13                                       )
                           Plaintiff,    )
14              vs.                      )   ORDER OF DISMISSAL OF
                                         )   DEFENDANTS WITH PREJUDICE
15                                       )
     CITY OF LOS ANGELES; ESTOBAN )
16                                       )
     AGUILAR; MICHAEL PATTERSON; )
17   DOES 3 through 10, inclusive.       )
                                         )
18                                       )
                             Defendants. )
19
20
          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
21
22        Based upon the foregoing stipulation of Plaintiff FREDY ALVAREZ, by and
23   through his Guardian Ad Litem, LOIDA BRAVO, (“Plaintiff”) and Defendants
24   CITY OF LOS ANGELES, ESTOBAN AGUILAR and MICHAEL PATTERSON
25   (“Defendants”), the complete action against Defendants is hereby DISMISSED
26   WITH PREJUDICE.
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                                               1
     Case 2:20-cv-04812-MRW Document 30 Filed 11/22/21 Page 2 of 2 Page ID #:161




 1        Each party will bear their own costs. Therefore, this stipulation and dismissal
 2 completely terminates the above-entitled action against all Defendants with
 3 prejudice.
 4
 5 IT IS SO ORDERED:
 6
 7
          11/22/2021
 8 DATED:_______________                     __________________________________
                                             HON. MICHAEL R. WILNER
 9                                           United States Magistrate Judge
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